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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
ANDRE R. MORRISON,

                                            Plaintiff,
                                                                               ORDER
        - against -
                                                                         No. 19-CV-11729 (CS)
HELEN M. MINERVINI and
LINDA A. HOGGER,

                                             Defendants.
-------------------------------------------------------------x

Seibel, J.

        Upon application of Defendants and consent of Plaintiff, it is hereby ORDERED that this

case be transferred forthwith to the United States District Court for the District of New Jersey.

The waiting period of Local Rule 83.1 shall not apply

SO ORDERED.

Dated: October 29, 2020
       White Plains, New York

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                                                                  CATHY SEIBEL, U.S.D.J.
